              Case 6:20-cv-01375-AA          Document 10               Filed 09/10/20   Page 1 of 4




TIM CUNNINGHAM, OSB #100906
timcunningham@dwt.com
GREGORY A. CHAIMOV, OSB #822180
gregorychaimov@dwt.com
CHRIS SWIFT, OSB #154291
chrisswift@dwt.com
DAVIS WRIGHT TREMAINE LLP
1300 S.W. Fifth Avenue, Suite 2400
Portland, Oregon 97201-5610
Telephone: (503) 241-2300
Facsimile: (503) 778-5299

         Attorneys for Plaintiffs Oregon Bankers Association,
         Lewis & Clark Bank, Bank of Eastern Oregon
         and People’s Bank of Commerce

                               IN THE UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                           EUGENE DIVISION

OREGON BANKERS ASSOCIATION,                                      Case No. 6:20-cv-01375-AA
LEWIS & CLARK BANK, BANK OF
EASTERN OREGON AND PEOPLE’S                                      UNOPPOSED MOTION SETTING
                                                                 TIME FOR DEFENDANTS TO
BANK OF COMMERCE,                                                APPEAR
                                   PLAINTIFFS,

         v.

STATE OF OREGON, ELLEN
ROSENBLUM, in her official capacity as the
Attorney General of the State of Oregon, and
ANDREW STOLFI, in his official capacity as
the Director of the Oregon Department of
Consumer and Business Services,

                                   DEFENDANTS.



                                        LR 7-1 CERTIFICATION
         Pursuant to L.R. 7.1(a)(3), counsel for Plaintiffs certifies that the parties have conferred,

and counsel for Defendants does not oppose the relief requested by this Motion.




Page 1 - UNOPPOSED MOTION SETTING TIME FOR DEFENDANTS TO APPEAR
                                             DAVIS WRIGHT TREMAINE LLP
4812-9517-3322v.1 0116228-000001              1300 S.W. Fifth Avenue, Suite 2400
                                                 Portland, Oregon 97201-5610
                                           (503) 241-2300 main  (503) 778-5299 fax
            Case 6:20-cv-01375-AA         Document 10               Filed 09/10/20   Page 2 of 4




                                                MOTION
         Pursuant to Fed. R. Civ. P. 6(b), Fed. R. Civ. P. 1, and the Court’s inherent authority to

manage its docket, Plaintiffs move the court for an order setting the date for Defendants to enter

their first appearance as September 29, 2020. This Motion is supported by the concurrently-filed

declaration of Tim Cunningham (“Cunningham Dec.”).

                                   FACTUAL BACKGROUND
         Plaintiffs filed their complaint on August 13, 2020. Dkt. 1. That same day, counsel for

Plaintiffs provided courtesy copies of the complaint via email to Steve Lippold, Chief Trial
Counsel at the Oregon Department of Justice. Cunningham Dec. ¶ 2. Mr. Lippold responded

and requested counsel for plaintiffs contact him regarding service. Id.

         On August 14, 2020, counsel for Plaintiffs conferred telephonically with Mr. Lippold. Id.

¶ 3. Mr. Lippold requested that due to the COVID-19 pandemic, Plaintiffs not attempt service

on Defendants, but instead provide waivers. Id. Counsel for Plaintiffs responded that Plaintiffs

were ready, willing, and able to effectuate service, and would prefer to effectuate service so as to

ensure a 21-day appearance as opposed to a 60-day appearance. Id.; compare Fed. R. Civ. P.

12(b)(a)(1)(A)(i), with Fed. R. Civ. P. 12(b)(a)(1)(A)(ii). Mr. Lippold and counsel for Plaintiffs

agreed that Plaintiffs would send waiver forms, but Defendants would appear within the time

contemplated for perfected service. Cunningham Dec. ¶ 4. Counsel for Plaintiff provided
waiver forms describing the parties’ agreement. Id.

         On August 26, 2020, counsel for Plaintiffs conferred with Keith Ketterling, whom

defendants have retained. Id. ¶ 5. Mr. Ketterling requested additional time to appear, until

September 29, 2020. Id. Plaintiffs do not oppose that request. Id. However, counsel for

Defendants (who have not yet returned the waiver forms) have raised that the agreed-upon

September 29, 2020 date—while longer than the 21-days allowed a defendant served with

process—is shorter than the 60-days provided to a defendant who returns a waiver. Id. The



Page 2 - UNOPPOSED MOTION SETTING TIME FOR DEFENDANTS TO APPEAR
                                          DAVIS WRIGHT TREMAINE LLP
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                                              Portland, Oregon 97201-5610
                                        (503) 241-2300 main  (503) 778-5299 fax
            Case 6:20-cv-01375-AA        Document 10               Filed 09/10/20   Page 3 of 4




parties have conferred and agree this motion is the appropriate mechanism to set a response date.

Id. The parties do not make this request for purposes of delay.

                                   POINTS AND AUTHORITIES
         Whether viewed as an extension of time to appear 21-days after Plaintiffs would have

effectuated service, or an agreed-upon time by the parties for an appearance, the Court has

authority to set the parties’ agreed date, September 29, 2020, as the date for Defendants’ first

appearance. See Fed. R. Civ. P. 6(b), Fed. R. Civ. P. 1; see also, e.g. Yong v. I.N.S., 208 F.3d

1116, 1119 (9th Cir. 2000) (court has “inherent authority to control its own docket and
calendar”).

                                           CONCLUSION
         For the reasons outlined above, Plaintiffs request that the court grant Defendants until

September 29, 2020 to enter their first appearance.

         DATED this 10th day of September, 2020.

                                       DAVIS WRIGHT TREMAINE LLP



                                       By s/ Tim Cunningham
                                          Tim Cunningham, OSB #100906
                                          timcunningham@dwt.com
                                          Chris Swift, OSB #154291
                                          chrisswift@dwt.com
                                          Telephone: (503) 241-2300
                                          Facsimile: (503) 778-5299

                                            Attorneys for Plaintiffs




Page 3 - UNOPPOSED MOTION SETTING TIME FOR DEFENDANTS TO APPEAR
                                         DAVIS WRIGHT TREMAINE LLP
4812-9517-3322v.1 0116228-000001          1300 S.W. Fifth Avenue, Suite 2400
                                             Portland, Oregon 97201-5610
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            Case 6:20-cv-01375-AA         Document 10               Filed 09/10/20   Page 4 of 4




                                   CERTIFICATE OF SERVICE
         I hereby certify that I served a copy of the foregoing UNOPPOSED MOTION

SETTING TIME FOR DEFENDANTS TO APPEAR on:

                   Keith Ketterling
                   Steve Berman
                   Stoll Berne
                   209 SW Oak St., Ste. 500
                   Portland, OR 97204
                   Telephone (503) 227-1600
                   Facsimile (503) 227-6840
                   Email kketterling@stollberne.com; sberman@stollberne.com

                   Of Attorneys for Defendants

               by mailing a copy thereof in a sealed, first-class postage prepaid envelope,
addressed to said attorney’s last-known address and deposited in the U.S. mail at Portland,
Oregon on the date set forth below;

               by emailing a copy thereof to said attorney at his/her last-known email address as
set forth above.

         Dated this 10th day of September 2020.

                                        DAVIS WRIGHT TREMAINE LLP



                                        By: s/ Tim Cunningham
                                           Tim Cunningham, OSB #100906
                                           Chris Swift, OSB #154291
                                             Of Attorneys for Plaintiffs




Page 1 - CERTIFICATE OF SERVICE
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                                           1300 S.W. Fifth Avenue, Suite 2400
                                              Portland, Oregon 97201-5610
                                        (503) 241-2300 main  (503) 778-5299 fax
